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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

   UNITED STATES OF AMERICA               )
                                          ) Case:             4:21-CR-74
                             Plaintiff(s) )
                  v.                      )
                                          ) Judge:            James M. Moody, Jr.
             Montrell Jones               )
         _________________________ )
                            Defendant(s) )


                                  NOTICE OF APPEARANCE

       Please take notice that Christopher Baker of the James Law Firm will be aiding as counsel in

the representation of Montrell Jones in the case captioned above and requests that they be included

on the service of all notices, pleadings, and other documents filed in this case. Christopher Baker is

admitted or otherwise authorized to practice in this court.

 Dated: July 6, 2023                                 Respectfully submitted,

                                                     /s/ Christopher Baker

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